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MOTION TO SEVER DEFENDANT JESSICA WATKINS FROM CIVIL ACTION 1:21-cv-03267 (APM)

| request that these statements be weighed for their merits; that each can be corroborated by
any/all Discovery that you may obtain, and that the claims against me are false. | request that | be
removed from this Legal Action against me, as | did not inflict any harm or PTSD or any other impact on
the aforementioned named Plaintiffs. My interactions with US Metropolitan Police Officers on January
6th was strictly professional and courteous. | did not coordinate with any Proud Boys, nor did | know any
members of the Proud Boys prior to my incarceration. The Hon. Judge Amit P. Mehta presided over our
Criminal Trial, and has seen the statements made in this RESPONSE TO PLAINTIFF'S INTERROGATORIES to
be true and accurate statements. | respectfully request that the Court to grant the request to Sever
Defendant Jessica Watkins from this Civil Action.

Additionally, as | have no assets of any worth and | am indigent, that there is no financial benefit to
be gained by continuing this action against me. This Civil Action serves only to malign and defame my
character, but can serve no other purpose. | respectfully request Counsel for the Plaintiffs to remove me
from their Claim. Should the Counsel for the Plaintiffs need any further statements, | am happy to
provide those statements on the TruLincs system. Each Counsel has been added to my Contact List and I

am available there if needed further.

RESPECTFULLY,
DEFENDANT JESSICA WATKINS

FBoP REG. NO. 26056-509
